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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Case No. 1:14-cv-02887-JLK-MEH

ALEJANDRO MENOCAL,
MARCOS BRAMBILA,
GRISEL XAHUENTITLA,
HUGO HERNANDEZ,
LOURDES ARGUETA,
JESUS GAYTAN,
OLGA ALEXAKLINA,
DAGOBERTO VIZGUERRA, and
DEMETRIO VALERGA,
on their own and on behalf of all others similarly situated,

         Plaintiffs,

v.

THE GEO GROUP, INC.,

         Defendant.


     DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE
     GEO GROUP, INC.'S MOTION TO DISMISS FOR FAILURE TO JOIN REQUIRED
                                  PARTY


         I, Adrienne Scheffey, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

         1.      I am an attorney for defendant The GEO Group, Inc. (“Defendant” or “GEO”) in

the above-captioned matter. I have personal knowledge of the facts set forth below.

         2.      I submit this Declaration in support of GEO's Motion to Dismiss for Failure to Join

Required Party.




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         3.     Attached is an index of attached exhibits as required by this Court’s practice

standards. The exhibits are also outlined below.

         4.     Attached as Exhibit A is a true and correct copy of the AIPC Contract with ICE

dated September 15, 2011. This document has been filed with this court as Level 1 Restricted.

         5.     Attached as Exhibit B is a true and correct copy of an ICE National Detainee

Handbook that was used during the class period. Filed with this court as Level 1 Restricted.

         6.     Attached as Exhibit C is a true and correct copy of the declaration submitted in

support of this action from GEO's employee, Dawn Ceja.

         7.     Attached as Exhibit D are true and correct copies of excerpts from Amber Martin's

deposition, taken by Plaintiffs on October 9, 2019.

         8.     Attached as Exhibit E are true and correct copies of excerpts of ICE's various audit

findings at the AIPC during the class period. This document has been filed with this court as Level

1 Restricted.

         9.     Attached as Exhibit F are true and correct copies of excerpts from Demetrio

Valerga's deposition, taken by GEO on October 27, 2017.

         10.    Attached as Exhibit G is a true and correct copy of a website capture from ICE's

website on human trafficking dated May 30, 2018.

         11.    Attached as Exhibit H is a true and correct copy of a press release related to this

action dated February 28, 2017.

         12.    Attached as Exhibit I is a true and correct copy of the United States' amicus brief

filed in Ahmed, et al. v. CoreCivic, Inc., U.S. Court of Appeals for the Eleventh Circuit, Case No.

18-15081.



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         Executed this 17th day of August, 2020, in Denver, Colorado.

                                                s/ Adrienne Scheffey
                                                Adrienne Scheffey




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                                     CERTIFICATE OF SERVICE

             I hereby certify on this 17th day of August, 2020, a true and correct copy of the foregoing

    DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE GEO

    GROUP, INC.'S MOTION TO DISMISS FOR FAILURE TO JOIN REQUIRED PARTY

    was filed and served electronically via the Court’s CM/ECF system on the following:

                                          Counsel for Plaintiffs:
Alexander N. Hood                     P. David Lopez                    R. Andrew Free
David H. Seligman                     OUTTEN & GOLDEN, LLP              LAW OFFICE OF R. ANDREW FREE
Juno E. Turner                        601 Massachusetts Ave. NW         P.O. Box 90568
Andrew Schmidt                        2nd Floor West Suite              Nashville, TN 37209
TOWARDS JUSTICE                       Washington, DC 20001              andrew@immigrantcivilrights.com
1410 High St., Ste. 300               pdl@outtengolden.com
Denver, CO 80218                                                        Brandt P. Milstein
alex@towardsjustice.org               Adam L. Koshkin                   MILSTEIN LAW OFFICE
david@towardsjustice.org              Rachel W. Dempsey                 1123 Spruce St.
juno@towardsjustice.org               OUTTEN & GOLDEN, LLP              Boulder, CO 80302
andy@towardsjustice.org               One California St., 12th Fl.      brandt@milsteinlawoffice.com
                                      San Francisco, CA 94111
Andrew H. Turner                      akoshkin@outtengolden.com
Matthew Fritz-Mauer                   rdempsey@outtengolden.com
KELMAN BUESCHER FIRM
600 Grant St., Ste. 825               Michael J. Scimone
Denver, CO 80203                      Ossai Miazad
aturner@laborlawdenver.com            OUTTEN & GOLDEN, LLP
mfritzmauer@laborlawdenver.com        685 Third St., 25th Fl.
                                      New York, NY 10017
Hans C. Meyer                         mscimone@outtengolden.com
MEYER LAW OFFICE, P.C.                om@outtengolden.com
P.O. Box 40394
Denver, CO 80204
hans@themeyerlawoffice.com


                                                          s/ Nick Mangels
                                                          Nick Mangels




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                        IN THE UNITED STATES DISTRICT COURT
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on their own and on behalf of all others similarly situated,

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         Defendant.


INDEX OF EXHIBITS TO DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT
 OF DEFENDANT THE GEO GROUP, INC.'S MOTION TO DISMISS FOR FAILURE
                      TO JOIN REQUIRED PARTY



 Exhibit                                         Description
             AIPC Contract with ICE dated September 15, 2011 – Filed with this Court as Level
     A
             1 Restricted
     B       ICE National Detainee Handbook – Filed with this Court as Level 1 Restricted

     C       Declaration of Dawn Ceja

     D       Excerpts of Amber Martin’s Deposition Transcript dated October 9, 2019

     E       ICE Audit Findings – Filed with this Court as Level 1 Restricted




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 Exhibit                                         Description

    F        Excerpts from Demetrio Valerga's Deposition Transcript October 27, 2017

    G        Human Trafficking Website Capture dated May 30, 2018

    H        Press Release dated February 28, 2017
             U.S. Amicus Brief filed in Ahmed, et al. v. CoreCivic, Inc., U.S. Court of Appeals for
    I
             the Eleventh Circuit, Case No. 18-15081




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